 Case 4:23-cv-03560 Document 107 Filed on 11/27/23 in TXSD Page 1 of 5




                 UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF TEXAS
                      HOUSTON DIVISION


FEDERAL TRADE COMMISSION,

                                 Plaintiff,         Civil Action No.
                                                    4:23-CV-03560
                      v.
                                                    UNOPPOSED
U.S. ANESTHESIA PARTNERS, INC., et al.,


                              Defendants.




 MOTION OF THE AMERICAN INVESTMENT COUNCIL FOR LEAVE TO
 FILE A BRIEF AS AMICUS CURIAE IN SUPPORT OF WELSH CARSON’S
                      MOTION TO DISMISS
 Case 4:23-cv-03560 Document 107 Filed on 11/27/23 in TXSD Page 2 of 5




        The American Investment Council (“AIC”) respectfully moves for leave to file a

brief as amicus curiae in support of the motion to dismiss filed by Defendants Welsh,

Carson, Anderson & Stowe XI, L.P.; WCAS Associates XI, LLC; Welsh, Carson,

Anderson & Stowe XII, L.P.; WCAS Associates XII, LLC; WCAS Management

Corporation; WCAS Management, L.P.; and WCAS Management, LLC (collectively,

“Welsh Carson”). The proposed amicus brief is attached as Exhibit A. All parties have

consented to the filing of this brief.

        “The extent to which the court permits amicus briefing lies solely with the court’s

discretion.” Cazorla v. Koch Foods of Miss., LLC, No. 3:10-cv-135, 2014 WL 2163151,

at *3 (S.D. Miss. May 23, 2014) (citation omitted). “There are no strict prerequisites that

must be established prior to qualifying for amicus status.” United States v. Louisiana, 751

F. Supp. 608, 620 (E.D. La. 1990). “Generally, courts have exercised great liberality in

permitting an amicus curiae to file a brief in a pending case,” id., looking to whether “the

proffered information is ‘timely and useful’ or otherwise necessary to the administration

of justice,” Does 1-7 v. Round Rock Indep. Sch. Dist., 540 F. Supp. 2d 735, 739 n.2 (W.D.

Tex. 2007) (citation omitted). AIC’s proffered amicus brief meets this standard.

        First, AIC’s proffered amicus brief is timely. “While no rule specifically governs

amicus status in district court proceedings, courts typically apply Rule 29 of the Federal

Rules of Appellate Procedure.” Mississippi v. Becerra, No. 1:22-cv-113, 2023 WL

5668024, at *7 (S.D. Miss. July 12, 2023). Rule 29 requires amicus curiae to file its brief

“no later than 7 days after the principal brief of the party being supported is filed.” Fed.

R. App. P. 29(a)(6). In accordance with this, AIC is filing this motion and proffered brief
 Case 4:23-cv-03560 Document 107 Filed on 11/27/23 in TXSD Page 3 of 5




within seven days of Welsh Carson filing its motion to dismiss, leaving the FTC with ample

time to review and respond to the brief.

          Second, AIC’s proffered brief is useful.     AIC is an advocacy and research

organization dedicated to the promotion of responsible long-term investment by the private

equity and credit investors who comprise its membership. AIC works to improve access

to capital, create jobs, expand retirement security, generate innovation, and support

economic growth in communities throughout the United States, including Texas. AIC has

been an important advocate for the private equity industry, including by acting as amicus

curiae in a recent case in the Supreme Court of Texas, In re First Reserve Management,

L.P., 671 S.W.3d 653 (Tex. 2023), which reinforced the importance of the corporate form

and held that ordinary private equity oversight practices do not support veil-piercing

claims.

          As detailed more fully in AIC’s proffered brief, AIC seeks to provide the Court

with important background and insight to assist the Court in assessing the FTC’s claims

against Welsh Carson, a private equity firm. AIC takes no position with respect to the

allegations against U.S. Anesthesia Partners, Inc. (“USAP”). Instead, AIC’s brief first

provides important background on the impact of the private equity industry on the U.S.

economy and the economy of Texas. The brief then explains the FTC’s recent enforcement

efforts concerning the private equity industry, and situates this case in the development of

those efforts. Finally, it details the harmful consequences of allowing the claims against

Welsh Carson to move forward, as these claims conflict with well-established corporate

law principles and threaten pro-competitive conduct.




                                             2
 Case 4:23-cv-03560 Document 107 Filed on 11/27/23 in TXSD Page 4 of 5




       For these reasons, AIC respectfully requests that the Court grant AIC’s unopposed

motion for leave to participate as amicus curiae and accept the proposed amicus brief,

which is attached as Exhibit A to this motion.




November 27, 2023                                Respectfully submitted,


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                                            3
 Case 4:23-cv-03560 Document 107 Filed on 11/27/23 in TXSD Page 5 of 5




                         CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 7.1(D)(1), the undersigned hereby declares that he has

conferred with counsel for both Plaintiff and Defendants. This motion is unopposed, and

all parties have consented to the filing of AIC’s amicus brief.


November 27, 2023                                Respectfully submitted,




                                                 /s/ Benjamin Gruenstein
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                                             4
